     Case 1:18-cv-00862-TCW Document 59 Filed 07/13/18 Page 1 of 2



             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                              BID PROTEST

FMS INVESTMENT CORP., et al.,                 )
                                              )
               Plaintiffs,                    )
                                              )      Nos. 18-862C, 18-872C, 18-873C,
       v.                                     )      18-889C, 18, 894C, 18-895C,
                                              )      19-901C, 18-946C
THE UNITED STATES,                            )
                                              )      Judge Thomas C. Wheeler
               Defendant,                     )
                                              )
       and                                    )
                                              )
ALLTRAN EDUCATION, INC.,                      )
                                              )
               Intervenor-Defendant.          )

                                        NOTICE

       On July 3, 2018, we notified the Court that the Department of Education (ED) had

postponed its plan to recall accounts not currently in repayment that are assigned to the

five firms holding award term extension contracts set to expire in April 2019. ED has

lifted the postponement and the recall is scheduled to commence today, July 13, 2018.


                                              Respectfully submitted,

                                              CHAD A. READLER
                                              Acting Assistant Attorney General

                                              ROBERT E. KIRSCHMAN, JR.
                                              Director

                                              s/ Patricia M. McCarthy
                                              PATRICIA M. McCARTHY
                                              Assistant Director
 OF COUNSEL:
                                              s/ David R. Pehlke
 JOSE OTERO                                   DAVID R. PEHLKE
 General Attorney                             Trial Attorney
 Office of the General Counsel                Department of Justice – Civil Division
 U.S. Department of Education                 P.O. Box 480
    Case 1:18-cv-00862-TCW Document 59 Filed 07/13/18 Page 2 of 2



                                  Ben Franklin Station
                                  Washington, D.C. 20044
SARA FALK                         Telephone: (202) 307-0252
General Attorney                  Fax: (202) 353-0461
Office of the General Counsel     david.r.pehlke@usdoj.gov
U.S. Department of Education

July 13, 2018                     Attorneys for Defendant




                                  2
